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                         EXHIBIT B
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    )
                  Plaintiffs,       )           Civil Action No. ___________
                                    )
            v.                      )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                  Defendants.       )
___________________________________ )


                   DECLARATION OF MITCHELL WARREN

      I, Mitchell Warren, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am the Executive Director of the AIDS Vaccine Advocacy Coalition

(AVAC), a New York-based non-profit organization that leverages its independent

voice and global partnerships to accelerate the ethical development and equitable

delivery of effective HIV prevention options.

      3.     AVAC was the recipient of a five-year Cooperative Agreement with

USAID in June 2016 to fund our HIV Prevention and Biomedical Research Project.

That agreement funded our work on the Coalition to Accelerate & Support Prevention

Research (CASPR), a coalition of African civil society organizations that conducts

research on HIV prevention and translates that research into resources for local
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communities, including medical research trial participants.

      4.      AVAC’s work with CASPR has been essential in, among other things,

preparing African nations for the rollout of pre-exposure prophylaxis (PrEP), a

medication regimen used to prevent HIV infection in people who are at high risk of

exposure to the virus.

      5.      PrEP is an essential part of the global fight against HIV/AIDS. This

lifesaving treatment is highly effective in preventing HIV infection and has

drastically reduced the number of new HIV infections and AIDS-related deaths.

      6.      In turn, the support of the United States through the President’s

Emergency Plan for AIDS Relief (PEPFAR) is crucial in supporting PrEP initiations

for high-risk populations globally. According to the government’s own materials,

PEPFAR accounts for more than 90% of PrEP initiation worldwide.1 And PEPFAR is

currently supporting long-acting injectable PrEP with plans to launch in six

additional countries by the end of 2024.2

      7.      This injectable—lenacapavir—is astonishingly effective. One trial found

100% efficacy in preventing HIV in a group of 5,300 people in Uganda and South

Africa. Another showed a 96% reduction in HIV incidence.

      8.      CASPR is a crucial part of the rollout of lenacapavir. Our experience has

shown that even extremely effective medication must be supported by programs,

policies, and funding to improve access. Through CASPR, AVAC is working diligently


      1  See hiv.gov, PEPFAR (Dec. 23, 2024), https://www.hiv.gov/federal-
response/pepfar-global-aids/pepfar.
      2 Id.


                                            2
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to ensure that rollout of the new, life-saving medication is both swift and ethical.

      9.     In 2021, USAID extended the cooperative agreement for five years—

until June 19, 2026—and doubled the amount of funding provided to AVAC under

the grant.

      10.    Grant funding from USAID constitutes 40 percent of AVAC’s total

operating budget.

      11.    As a result, the orders freezing funding and requiring AVAC to stop

work on federally funded projects have eviscerated AVAC’s ability to provide crucial

support to HIV preventive research, development, and rollout. The freeze forced us

to halt all CASPR work, resulting in disruption to HIV prevention research and

development and to clinical trials.

      12.    So far, AVAC has had to lay off 7 people as a result of the abrupt halt in

federal funding. We will be forced to lay off 10 more people over the next month.

      13.    The injuries suffered by AVAC are ongoing and will persist unless the

stop-work orders are rescinded.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 10, 2025.



                                                /s/________________ __
                                               Mitchell Warren
                                               Executive Director, AVAC




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